              EXHIBIT 1
   RPD 30(b)(6) Deposition - George
             Gillenwater




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 ·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · · FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
 ·2

 ·3·       ·   ·   ·   DERRICK JOVAN McRAE,· · )
 · ·       ·   ·   ·   · · · · · · · · · · · · )
 ·4·       ·   ·   ·   · · · PLAINTIFF,· · · · )
 · ·       ·   ·   ·   · · · · · · · · · · · · )
 ·5·       ·   ·   ·   V.· · · · · · · · · · · ) 1:21-CV-577-LCB-JLW
 · ·       ·   ·   ·   · · · · · · · · · · · · )
 ·6·       ·   ·   ·   ERIK A. HOOKS,· · · · · )
 · ·       ·   ·   ·   Secretary, N.C. Dep't· ·)
 ·7·       ·   ·   ·   of Public Safety,· · · ·)
 · ·       ·   ·   ·   · · · · · · · · · · · · )
 ·8·       ·   ·   ·   · · · DEFENDANT.· · · · )

 ·9
 · · · · · · · · · · Rockingham, North Carolina
 10· · · · · · · · · Monday, September 26, 2022

 11

 12· ·30(b)(6) Deposition of Rockingham Police Department by
 · · · · · · · · · · · ·GEORGE GILLENWATER,
 13

 14· · · · · · · · · a witness herein, called for

 15· · · · examination by counsel for the

 16· · · · Petitioner, in the above-entitled

 17· · · · action, pursuant to agreement, the

 18· · · · witness being duly sworn by Kylie

 19· · · · Fleming, Court Reporter and Notary

 20· · · · Public in and for the State of North

 21· · · · Carolina, taken at the Clerk's Office

 22· · · · Conference Room, Richmond County

 23· · · · Courthouse, 105 West Franklin Street,

 24· · · · Rockingham, North Carolina, beginning at

 25· · · · 1:50 p.m.


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 ·1· · · · · · · APPEARANCES OF COUNSEL

 ·2
 · · ·On behalf of the Petitioner:
 ·3

 ·4·       ·   ·   ·   ·Jamie T. Lau
 · ·       ·   ·   ·   ·Wrongful Convictions Clinic
 ·5·       ·   ·   ·   ·Duke University School of Law
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 ·7

 ·8· ·On behalf of the Respondent:

 ·9
 · ·       ·   ·   ·   ·Zachary K. Dunn
 10·       ·   ·   ·   ·Kimberly N. Callahan
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 12·       ·   ·   ·   ·zdunn@ncdoj.gov
 · ·       ·   ·   ·   ·kcallahan@ncdoj.gov
 13

 14
 · · · Also Present:
 15

 16· · · · ·Chuck Habrack, Videographer
 · · · · · ·Kelly Keglovits, Duke
 17

 18

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 ·7

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 ·1· · · · · · · ·P R O C E E D I N G S
 ·2· · · · · · ·THE VIDEOGRAPHER:· Today is
 ·3· ·September 26th, 2022.· The time is
 ·4· ·approximately 1:50 p.m.· We are now on
 ·5· ·the record.
 ·6· · · · · · ·This is the beginning of media
 ·7· ·one in the 30(b)(6) deposition of
 ·8· ·Rockingham Police Department.· The
 ·9· ·corporate representative is George
 10· ·Gillenwater.· In the matter of Derrick
 11· ·Jovan McRae verse Eric A. Hooks, et al.
 12· ·The case is In The United States
 13· ·District Court For The Middle District
 14· ·of North Carolina, Case Number
 15· ·1:21CV577.
 16· · · · · · ·Today's location is 105 West
 17· ·Franklin Street, Rockingham, North
 18· ·Carolina 28379.· My name is Chuck
 19· ·Habrack.· I'm the videographer.· The
 20· ·recorder is Kylie Fleming.
 21· · · · · · ·For the record, can counsel
 22· ·please introduce yourselves, whom you're
 23· ·representing, then the recorder will
 24· ·swear in the witness.
 25· · · · · · ·MR. LAU:· Jamie Lau on behalf

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 ·1· ·of the petitioner, Derrick McRae.
 ·2· · · · · · ·MS. CALLAHAN:· Kimberly
 ·3· ·Callahan on behalf of respondent.
 ·4· · · · · · ·MR. DUNN:· And Zachary Dunn on
 ·5· ·behalf of the respondent.
 ·6· · · · · · ·And just before we get started
 ·7· ·-- well, do you want to swear in the
 ·8· ·witness first or --
 ·9· · · · · · ·THE COURT REPORTER:· You
 10· ·can --
 11· · · · · · ·MR. DUNN:· Okay.· Just before
 12· ·we get started, I want to put our
 13· ·objection on the record.· We object to
 14· ·the magistrate judge's limited discovery
 15· ·order, and should the district judge
 16· ·rule in our favor, we would further
 17· ·object to this deposition being used in
 18· ·any other proceeding.· Thank you.
 19· · · · · · ·THE COURT REPORTER:· Okay.
 20· ·And, Mr. Gillenwater, can you please
 21· ·raise your right hand.
 22· · · · · · ·Do you swear or affirm today
 23· ·to tell the truth, the whole truth, and
 24· ·nothing but the truth?
 25· · · · · · ·THE WITNESS:· I swear, I do.

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 ·1· · · · · · ·THE COURT REPORTER:· Thank you
 ·2· ·so much.
 ·3· · · · · · ·And, counsel, you may -- you
 ·4· ·may begin.
 ·5· · · · · · ·MR. LAU:· Yes.· And also, I'd
 ·6· ·like to note for the record that
 ·7· ·Mr. Gillenwater is here on behalf of the
 ·8· ·Rockingham Police Department under Rule
 ·9· ·30(b)(6), as its designee.· Pursuant to
 10· ·Rule 30(b)(6), the party receiving a
 11· ·subpoena is required to confer in good
 12· ·faith about the matters of examination.
 13· ·Counsel for petitioner communicated with
 14· ·the Rockingham Police Department via
 15· ·email about the meeting confer
 16· ·requirement and attempted to schedule a
 17· ·time to do so but has not heard prior to
 18· ·now from the Rockingham Police
 19· ·Department.
 20· · · · · · ·Accordingly, petitioner will
 21· ·proceed with the deposition today but
 22· ·reserves the right to recall
 23· ·Mr. Gillenwater or another individual as
 24· ·the designee to sit for another agency
 25· ·deposition, if -- if necessary.

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 ·1· · · · · · · · · ·GEORGE GILLENWATER,
 ·2· · · · · · · · ·having been duly sworn,
 ·3· · · · · · · · · testified as follows:
 ·4· · · · · · · · · ·DIRECT EXAMINATION
 ·5· · · BY MR. LAU:
 ·6· ·Q. With that, I'd like to -- I'm Jamie Lau,
 ·7· · · and I represent Derrick McRae, Chief
 ·8· · · Gillenwater.· And I like to generally
 ·9· · · ask first, you know, have you had an
 10· · · opportunity to speak with other
 11· · · individuals about the file in the
 12· · · Derrick McRae case?
 13· ·A. Yes.· Yes, I have.
 14· ·Q. Okay.· And what about historical file
 15· · · keeping for the Rockingham Police
 16· · · Department more generally?
 17· ·A. I spoke to Chief -- prior Chief Billy
 18· · · Kelly about that time frame.
 19· ·Q. Do you feel reasonably prepared to
 20· · · answer questions about recordkeeping
 21· · · practices of the Rockingham Police
 22· · · Department?
 23· ·A. Probably not during that time frame, no.
 24· ·Q. Okay.· With regard to your discussions
 25· · · with Mr. Kelly, did you speak

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 ·1· · · specifically about that time frame?
 ·2· ·A. I did.
 ·3· ·Q. Okay.· And what did he share with you
 ·4· · · regarding that time frame?
 ·5· ·A. During the '96 time frame --
 ·6· ·Q. Yeah, the --
 ·7· ·A. -- specifically?
 ·8· ·Q. -- time frame specifically from October
 ·9· · · of '95.
 10· ·A. He said that he really wouldn't have had
 11· · · any knowledge about what the records
 12· · · process was back then, either.· I think
 13· · · he was a patrol officer --
 14· ·Q. Okay.
 15· ·A. -- in '96.
 16· ·Q. Did you speak with any of the officers
 17· · · involved with this case?
 18· ·A. I did not.
 19· ·Q. Robert Voorhees?
 20· ·A. I have not.
 21· ·Q. Chris Brigman?
 22· ·A. I have not.
 23· ·Q. Okay.· Any other efforts to confer with
 24· · · others to determine the practices of the
 25· · · RPD during that period in time?

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 ·1· ·A. So my resources are very limited --
 ·2· ·Q. Fair enough.
 ·3· ·A. -- during that time frame.· Pretty much
 ·4· · · Chief -- prior Chief Billy Kelly is --
 ·5· · · is my go-to resource --
 ·6· ·Q. Okay.
 ·7· ·A. -- during that time frame.· I don't have
 ·8· · · a way of making contact with Robert
 ·9· · · Voorhees.
 10· · · · · · · · I asked Billy Kelly if he had
 11· · · a number or some way to make contact
 12· · · with him, and he said that the last that
 13· · · he had heard basically was that he was
 14· · · driving trucks and is out of town quite
 15· · · a bit and wasn't really sure how to make
 16· · · contact with him, either.
 17· ·Q. Okay.· Understood.· Can you describe
 18· · · your history with the agency?
 19· ·A. I started at Rockingham Police
 20· · · Department in 2006.· I left briefly for
 21· · · about two years from 2012 to 2014 and
 22· · · was a special agent with the Department
 23· · · of Revenue Drug Techs, and I came back
 24· · · in 2014 to Rockingham Police Department.
 25· · · Much of my time was either in narcotics

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 ·1· · · or criminal investigations division, and
 ·2· · · I was promoted to chief of the
 ·3· · · department after Billy Kelly retired in
 ·4· · · December of last year.
 ·5· ·Q. With respect to the file-keeping
 ·6· · · practices of the Rockingham Police
 ·7· · · Department, would you feel reasonably
 ·8· · · comfortable answering questions about
 ·9· · · those practices after 2006?
 10· ·A. Yes.
 11· ·Q. Okay.· And prior to 2006, would you be
 12· · · able to describe any of the practices of
 13· · · the department before that time?
 14· ·A. I would not be able to, no.
 15· ·Q. Okay.· You -- The agency, the Rockingham
 16· · · Police Department, received a subpoena
 17· · · in this matter dated August 31st, 2022,
 18· · · requesting agency records or RPD records
 19· · · related to an investigation in the death
 20· · · of Jeremy Rankin.
 21· · · · · · · · Specifically, that subpoena
 22· · · requested records from between the
 23· · · period of October 15th, 1995, to
 24· · · February 21st, 1996.
 25· · · · · · · · Can you describe the efforts

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 ·1· · · made to locate records from that period?
 ·2· ·A. So I spoke with Billy Kelly, once again,
 ·3· · · and asked him of the whereabouts of the
 ·4· · · original file, because I -- up to this
 ·5· · · point, I had no dealings.
 ·6· · · · · · · · My understanding was that this
 ·7· · · had come up in 2018, maybe, and he had
 ·8· · · to find the -- the file and the evidence
 ·9· · · for that proceeding.
 10· · · · · · · · He told me that the file and
 11· · · the evidence were retrieved from the
 12· · · clerk's office after that proceeding and
 13· · · they're in a safe.
 14· · · · · · · · I checked with my evidence
 15· · · technician, and he said that everything
 16· · · was still in place in the safe.· And
 17· · · then I asked my file clerk to go back
 18· · · through the records in '96 to see if
 19· · · there was anything that was out of place
 20· · · that may have anything at all to do with
 21· · · this listed matter.
 22· · · · · · · · Ms. Brisk said that she was
 23· · · unable to find anything that could be a
 24· · · part of this investigation.· And also
 25· · · back then, there wasn't any Bates

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 ·1· · · stamping or anything like that.· So
 ·2· · · short of there being an OCA number
 ·3· · · written on any paperwork, we really
 ·4· · · wouldn't be able to know if it was, you
 ·5· · · know, a part of the investigation,
 ·6· · · unless it noted a name or there was some
 ·7· · · photos or anything like that.· And so --
 ·8· · · But we were unable to find anything.
 ·9· ·Q. So you asked your records custodian,
 10· · · just to clarify --
 11· ·A. Yes.
 12· ·Q. -- to review case files from 1996 --
 13· ·A. Yes.
 14· ·Q. -- to try and identify --
 15· ·A. Well, to go through the -- we have
 16· · · filing cabinets for each year.· And we
 17· · · were in the process of -- of purging
 18· · · files, anyway.· So while she was doing
 19· · · that, I asked her to go through and make
 20· · · sure that we weren't missing -- or if
 21· · · there wasn't any documents that were
 22· · · loosely in the filing cabinets, to see
 23· · · if, you know, it was pertinent to the --
 24· · · this -- this matter.
 25· ·Q. Is there a filing cabinet for 1995?

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 ·1· ·A. There would be, yes.
 ·2· ·Q. Do you know if she reviewed the 1995
 ·3· · · filing cabinet?
 ·4· ·A. She did, yeah.
 ·5· ·Q. Are all files maintained by the records
 ·6· · · custodian?· Is that -- Can you describe
 ·7· · · just generally how files are stored --
 ·8· ·A. Well --
 ·9· ·Q. -- at the Rockingham Police Department?
 10· ·A. -- right now, they're under lock and key
 11· · · in a file room.· All prior murder cases,
 12· · · high-level felony cases, sexual
 13· · · assaults, rapes, things like that are
 14· · · kept separate.· And myself and the
 15· · · assistant chief has access to the filing
 16· · · room, nobody else.· We have to let the
 17· · · records clerk in if she needs to -- to
 18· · · get any out of there.
 19· ·Q. How long has that been the process,
 20· · · where you or the assistant chief were
 21· · · the only ones with keys to --
 22· ·A. As far as I know, that's been a process
 23· · · when Billy was the chief.· Him and the
 24· · · assistant chief at the time, Major
 25· · · Grant, were the only two who had access

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 ·1· · · to the filing room.
 ·2· ·Q. Okay.· Now, you testified with respect
 ·3· · · to these records that they were kept in
 ·4· · · a safe, the records related to the McRae
 ·5· · · case.· Is that safe in that filing room?
 ·6· ·A. It is not.· It's in a separate part of
 ·7· · · the police department.
 ·8· ·Q. Okay.· And do you know why the records
 ·9· · · here were separate from the records that
 10· · · were kept in the file room?
 11· ·A. As I previously stated, my understanding
 12· · · was that this matter came before the
 13· · · courts in 2018, 2019.· And Billy Kelly
 14· · · had spent some time trying to find that
 15· · · file and the evidence that went with
 16· · · that file.
 17· · · · · · · · And once those proceedings
 18· · · were done here in Richmond County, I
 19· · · guess it was -- it was his intent to put
 20· · · them in the safe so they would be easily
 21· · · accessible if the matter came up again.
 22· ·Q. Did -- Did he describe those prior
 23· · · efforts to locate the file?
 24· ·A. He -- Not to me, no.
 25· ·Q. Okay.· Anything else done with regards

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 ·1· · · to this search for records beyond --
 ·2· · · well, did you go to the safe and
 ·3· · · identify files in the safe?
 ·4· ·A. I did not.
 ·5· ·Q. Okay.· So the files that are in the safe
 ·6· · · were represented to you by Mr. Kelly --
 ·7· · · or former Chief Kelly as being files
 ·8· · · that were produced back at an earlier
 ·9· · · time?
 10· ·A. That's correct.
 11· ·Q. Okay.· Did he indicate that there were
 12· · · any records in there that may not have
 13· · · been produced?
 14· ·A. He did not, no.
 15· ·Q. Okay.· With regards to the storage of
 16· · · electronic records, does the Rockingham
 17· · · Police Department have electronic
 18· · · records stored from the period dating
 19· · · back to October of 1995?
 20· ·A. I honestly -- I would assume that we
 21· · · probably do, but I don't know --
 22· ·Q. Okay.
 23· ·A. -- with absolute certainty.
 24· ·Q. Who would have access to the electronic
 25· · · records that potentially exist for the

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 ·1· · · RPD?
 ·2· ·A. From -- From that time frame?
 ·3· ·Q. Yes.
 ·4· ·A. I mean, I would have --
 ·5· ·Q. Yes, sir.
 ·6· ·A. -- access to that if they're in the
 ·7· · · filing room.
 ·8· ·Q. Has anything been done to identify
 ·9· · · whether or not electronic records exist
 10· · · from the period of time between October
 11· · · 15th, 1995, to February 21st, 1996?
 12· ·A. With -- Specifically in regards to this
 13· · · case, yes, but just in general, no.· Not
 14· · · -- Not for this -- that generalized time
 15· · · frame.
 16· ·Q. Okay.· Who did that search for
 17· · · electronic records?
 18· ·A. My records custodian.
 19· ·Q. Okay.· And are there -- speaking for the
 20· · · agency, there are electronic files
 21· · · dating back that far; is that correct?
 22· ·A. I honestly don't know.
 23· ·Q. Okay.
 24· ·A. I -- I would assume if there was some
 25· · · audiotapes -- and I'm -- I guess that's

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 ·1· · · what you're referring to, because there
 ·2· · · wouldn't be a CD or a DVD -- but, yes,
 ·3· · · they would be -- they would be in the
 ·4· · · filing room.
 ·5· ·Q. What -- Beyond -- Beyond audiotapes,
 ·6· · · CDs, DVDs, what about electronically
 ·7· · · stored documents, documents that were
 ·8· · · scanned in or otherwise typed into a
 ·9· · · computer database or system dating back
 10· · · to this period in time?
 11· ·A. I'm not sure that we -- I'm not sure we
 12· · · would have anything like that --
 13· ·Q. Okay.
 14· ·A. -- from back then.· I'd have to -- I'd
 15· · · have to go back and look.
 16· ·Q. Do -- Do you know when the general
 17· · · database began, when -- when
 18· · · investigative records --
 19· ·A. Yeah.
 20· ·Q. -- are being typed into a --
 21· ·A. Yeah, we're --
 22· ·Q. -- server base?
 23· ·A. -- probably a little behind the curve --
 24· ·Q. Okay.
 25· ·A. -- in that -- in that regard.· I would

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 ·1· · · say Police-Pak RMS came to Rockingham
 ·2· · · maybe in '02 or '03.
 ·3· ·Q. Okay.
 ·4· ·A. So --
 ·5· ·Q. And -- And Police-Pak, can you decide --
 ·6· · · describe that system?
 ·7· ·A. That's our --
 ·8· ·Q. Can you --
 ·9· ·A. -- records management system.
 10· ·Q. Okay.· So now is everything digitized in
 11· · · that --
 12· ·A. Yes --
 13· ·Q. -- Police-Pak?
 14· ·A. Yes, sir.
 15· ·Q. Okay.· And -- And you -- your
 16· · · understanding was that occurred sometime
 17· · · in the early 2000s?
 18· ·A. That's correct.
 19· ·Q. Okay.
 20· ·A. Yes, sir.
 21· ·Q. Prior to Police-Pak, was there any use
 22· · · of computers to store criminal
 23· · · information that you're aware of,
 24· · · investigation --
 25· ·A. I don't --

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 ·1· ·Q. -- infor --
 ·2· ·A. -- yeah, I don't know.· That -- That was
 ·3· · · before my time.
 ·4· ·Q. Okay.· Specific to the McRae matter, did
 ·5· · · you make any inquiries of former Chief
 ·6· · · Kelly or anyone else about the contents
 ·7· · · or knowledge of any contents of records
 ·8· · · from October 15th to February 21st,
 ·9· · · 1996?
 10· ·A. No.· My -- My general inquiry with him
 11· · · was, A, where is the file at?· Because I
 12· · · didn't know where it was at to begin
 13· · · with.· And, of course, he wanted to know
 14· · · what was going on, and I explained the
 15· · · situation to him, and that was pretty
 16· · · much the extent of it.
 17· · · · · · · · He had mentioned that he had
 18· · · gone through this, like I said, in 2018
 19· · · to 2019, and he said that obviously if
 20· · · the file and evidence weren't in the
 21· · · safe, then it would still be with the
 22· · · clerk's office.
 23· · · · · · · · Now, there was some confusion
 24· · · because I was calling it McRae and --
 25· · · and everybody else was calling it

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 ·1· · · Rankin.· So there was a lot of
 ·2· · · confusion.· So it took me some time to
 ·3· · · sort of figure out where everything was
 ·4· · · at.· But once we got that sorted, it was
 ·5· · · apparent that everything was where it
 ·6· · · was supposed to be.
 ·7· ·Q. Okay, in the -- in the safe.
 ·8· · · · · · · · With regards to the -- the
 ·9· · · file room, you said there's key access
 10· · · that you and the assistant chief has.
 11· · · · · · · · If -- If files are removed
 12· · · from the file storage room, is there any
 13· · · log or any records kept of the files
 14· · · being removed from that?
 15· ·A. No.
 16· ·Q. If I'm an investigator and I need to
 17· · · access a file, what are the pros --
 18· · · procedures for my gaining access to that
 19· · · file?
 20· ·A. They would have to generate a request to
 21· · · either myself or the assistant chief.
 22· · · Typically they keep -- So at our
 23· · · department, the investigators keep a
 24· · · master file with themselves, and then
 25· · · there is a file that's kept in the file

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 ·1· · · room, and then there's also a digital
 ·2· · · file being on their computer.
 ·3· · · · · · · · So there really wouldn't be
 ·4· · · any need now for them to go into the
 ·5· · · file room.· I can't think of a time that
 ·6· · · -- that any of the detectives have
 ·7· · · needed to go into the file room to pull
 ·8· · · a file, because they have access to it
 ·9· · · on -- through the cloud, through their
 10· · · own copies, CD, things like that,
 11· · · because we have to make -- they have to
 12· · · make two investigative files.· They have
 13· · · to send one through to the DA's office
 14· · · through DAS, so there's a record there.
 15· · · They typically keep a -- a record on
 16· · · their computer or laptop, as well.
 17· · · So...
 18· ·Q. So the materials that they have access
 19· · · to through the cloud would be identical
 20· · · to the materials that --
 21· ·A. Yes, sir.
 22· ·Q. -- are kept there?· Okay.
 23· · · · · · · · And with regards to the
 24· · · materials that -- I guess get
 25· · · transferred into that master file that's

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 ·1· · · maintained, can you describe those --
 ·2· · · the general contents of -- of a master
 ·3· · · file that's stored --
 ·4· ·A. Yeah.
 ·5· ·Q. -- on a given case?
 ·6· ·A. Yeah.· Depending on the case, any
 ·7· · · interviews, the original report, any
 ·8· · · photographs that may have been taken,
 ·9· · · any audio or digital recordings that
 10· · · would have been taken, and, you know,
 11· · · pretty much everything that would have
 12· · · been done in the case is represented in
 13· · · the case file, and obviously now -- but
 14· · · everything is Bates stamped to ensure
 15· · · that someone's not missing something on
 16· · · either side.
 17· ·Q. Okay.· And -- And are officers'
 18· · · handwritten notes included --
 19· ·A. Yes.
 20· ·Q. -- in that?
 21· ·A. Yes, sir.
 22· ·Q. And -- And how far back do you recall it
 23· · · being the practice that everything that
 24· · · was a product of the investigation went
 25· · · into that master file that's stored --

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 ·1· ·A. Yeah.· As long as -- since I started in
 ·2· · · '06, '07.· I mean, that's always been
 ·3· · · the case.· Discovery, you had to make
 ·4· · · sure that everything was -- was
 ·5· · · represented in that case file.
 ·6· ·Q. Okay.· Do you -- Do you have any -- any
 ·7· · · knowledge about -- going back to the
 ·8· · · period of time here, what was required
 ·9· · · to be kept in the master case file?
 10· ·A. Just -- Just my assumptions, but, no, I
 11· · · don't know exactly what would have been
 12· · · required back -- back then.
 13· ·Q. Okay.· So if -- if -- if a file is in
 14· · · the file room, is there a log kept of
 15· · · that file when it's filed there
 16· · · indicating it being placed there and its
 17· · · location in the file room?
 18· ·A. I don't believe so, no.
 19· ·Q. Okay.· Beyond that file room, do you
 20· · · know of any locations where historical
 21· · · or older files are kept by the
 22· · · Rockingham Police Department?
 23· ·A. For a time period, there was an
 24· · · alternate storage facility in Robert L.
 25· · · It's an old building that the city

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 ·1· · · owned, and there were older files and
 ·2· · · evidence that was in there for some
 ·3· · · time.
 ·4· ·Q. Okay.· And -- And -- And does that
 ·5· · · building still have files and evidence
 ·6· · · there?
 ·7· ·A. I don't know.· I -- I haven't been down
 ·8· · · there in ten years or more.· So --
 ·9· ·Q. Okay.· So safe to say you -- if -- if
 10· · · material from this case exists there,
 11· · · you don't know?
 12· ·A. I wouldn't know.
 13· ·Q. You wouldn't know.· Okay.
 14· · · · · · · · Now, with regard to those --
 15· · · those files, who are the -- who's --
 16· · · who's the custodian of the files there,
 17· · · stored there?· Is it still the
 18· · · Rockingham Police Department?
 19· ·A. Yeah, if there's anything down there.                   I
 20· · · think Chief Kelly cleaned that area up
 21· · · or -- or, you know -- I don't know that
 22· · · there's anything that exists down there
 23· · · anymore, to be honest with you.
 24· ·Q. Okay.
 25· ·A. But, yeah, that -- that would be the

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 ·1· · · case.
 ·2· ·Q. That would be the case?
 ·3· ·A. Yeah.
 ·4· ·Q. Okay.· Have -- Have you ever known an
 ·5· · · agency file to -- to be kept offsite for
 ·6· · · any period of time before coming back to
 ·7· · · the Rockingham Police Department?
 ·8· ·A. No, sir.
 ·9· ·Q. Okay.· Are you aware that Detective
 10· · · Voorhees testified that when he was the
 11· · · chief, he looked for the file and it was
 12· · · not located at the RPD?
 13· ·A. I was not aware of that, no, sir.
 14· ·Q. Okay.· Is there any reason for a master
 15· · · file to be located offsite at any period
 16· · · of time?
 17· ·A. Not that I can think of, no.
 18· ·Q. Okay.· With regards to conveying files
 19· · · or -- or producing files to the district
 20· · · attorney's office, can you generally
 21· · · describe what files are produced to the
 22· · · district attorney's office, how that
 23· · · file -- and -- and -- and how that
 24· · · production is made?
 25· ·A. All felony files are produced to the

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 ·1· ·district attorney's office, and it's
 ·2· ·done so through a system called DAS,
 ·3· ·D-A-S.
 ·4· · · · · · ·Basically an investigator
 ·5· ·completes the case file, would have to
 ·6· ·do a -- basically a header sheet that
 ·7· ·describes the -- the crime committed,
 ·8· ·the -- the victim, the suspect, the date
 ·9· ·and time and place that it occurred.
 10· · · · · · ·And then the entirety of the
 11· ·file -- and there's a discovery
 12· ·certification page, which is an
 13· ·acknowledgment page saying the DA's
 14· ·office received the discovery -- all
 15· ·this is Bates stamped.· We have a unique
 16· ·identifying number.· Ours is -- starts
 17· ·with a 04.· That's our agency one.
 18· ·And it's scanned in and then sent
 19· ·through this DAS system to the DA's
 20· ·office.
 21· · · · · · ·And my understanding is, is
 22· ·that one of the assistants there
 23· ·downloads it and either burns it to a
 24· ·disk or prints it out for both the
 25· ·district attorney and the defense

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 ·1· · · attorney.
 ·2· ·Q. Do you know at what point in time the
 ·3· · · RPD began using that system?
 ·4· ·A. I can give you a guess, because this
 ·5· · · happened while I was there.· I think it
 ·6· · · was around 2009, 2010.
 ·7· ·Q. Okay.· And prior to 2009, 2010, how were
 ·8· · · materials produced to the district
 ·9· · · attorney's office?
 10· ·A. Hand delivered.
 11· ·Q. And -- And what was a part of that
 12· · · delivery?
 13· ·A. Substantially the same -- the same
 14· · · stuff, just delivered by hand instead of
 15· · · via the DAS portal system.
 16· ·Q. Was there any meetings with officers
 17· · · making that delivery to discuss what was
 18· · · being received?
 19· ·A. I don't recall.
 20· ·Q. Any log that you're aware of documenting
 21· · · the transmission between the agency and
 22· · · the district attorney's office?
 23· ·A. Well, there was -- that certification
 24· · · page was still a part of the process, so
 25· · · you walk it over there and deliver it.

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 ·1· · · There may have been a counsel on it,
 ·2· · · depending on the -- the case matter.
 ·3· · · And then the -- the assistant would sign
 ·4· · · off saying she received it, and we'd
 ·5· · · sign off saying that we'd given it to
 ·6· · · them.
 ·7· · · · · · · · They'd make a copy of the
 ·8· · · certification, and we kept it with --
 ·9· · · with our file.
 10· ·Q. Okay.· And -- And do you know how long
 11· · · that practice was in place to receive a
 12· · · certification of the discovery being
 13· · · provided?
 14· ·A. I don't know.
 15· ·Q. Okay.· Do you know in the McRae case if
 16· · · there's any certification indicating
 17· · · what materials were turned over?
 18· ·A. I don't.
 19· ·Q. With regards to the retention of
 20· · · records, what is the policy regarding
 21· · · the retention of records?
 22· ·A. So all -- all felony cases are
 23· · · maintained.· Homicides are maintained
 24· · · for -- forever, but we follow the record
 25· · · retention laws, the guidelines set for

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 ·1· · · by North Carolina.
 ·2· ·Q. So homicides are kept forever.· You said
 ·3· · · that there's a -- a -- a purge of files
 ·4· · · going on in the current process?
 ·5· ·A. Yeah.· There was -- When I took over,
 ·6· · · because they didn't have RMS, you know,
 ·7· · · leading up to '02 or so, all those
 ·8· · · incident reports, accident reports, and
 ·9· · · things like that that could have been
 10· · · purged just were purged.
 11· · · · · · · · So following those record
 12· · · retention guidelines, we started
 13· · · removing some of that stuff to create
 14· · · some space in the file room.
 15· ·Q. Okay.· Speaking on the behalf of RPD,
 16· · · can you think of any reason why
 17· · · materials would be removed from one of
 18· · · these master case files?
 19· ·A. I cannot.
 20· ·Q. With respect to the McRae case or the
 21· · · Jeremy Rankin homicide investigation,
 22· · · are you familiar with the fact that
 23· · · Mr. Rankin was found deceased on the
 24· · · morning of October 15th, 1996 -- 1995?
 25· · · Excuse me.

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 ·1· ·A. Yes.
 ·2· ·Q. Okay.· And based on the prior subpoena,
 ·3· · · we're seeking records from between that
 ·4· · · time and February 21st, 1996.
 ·5· · · · · · · · With regards to the agency
 ·6· · · files, do you know of any other case
 ·7· · · where the first four months of records
 ·8· · · for -- from an investigation don't
 ·9· · · exist?
 10· ·A. No, I don't.
 11· ·Q. Would the agency ordinarily inspect
 12· · · records from the first four and a half
 13· · · months of investigation to an existing
 14· · · case?
 15· ·A. Yes.
 16· ·Q. And what sort of investigative
 17· · · activities would the agency generally
 18· · · expect to see in a record through that
 19· · · period in time?
 20· ·A. The first four months of, I guess, just
 21· · · any homicide --
 22· ·Q. A homicide investigation?
 23· ·A. -- investigation, yeah.· Probably a
 24· · · substantial amount of interviews, if
 25· · · there's any witnesses; interviews with

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 ·1· · · the defendant; photos of -- if an
 ·2· · · autopsy would have been done in that
 ·3· · · time frame, probably autopsy records;
 ·4· · · the initial report, we call that the 02,
 ·5· · · things like that.
 ·6· ·Q. You said if there are any witnesses.· Is
 ·7· · · it the agency's practice to wait for
 ·8· · · witnesses to come forward?
 ·9· ·A. No, it is not.
 10· ·Q. So would it be the agency's practice to
 11· · · go out and start speaking to people --
 12· ·A. It would be.
 13· ·Q. -- immediately?
 14· ·A. Yes.
 15· ·Q. And would those interviews be
 16· · · documented?
 17· ·A. Yes.
 18· ·Q. And included in that file?
 19· ·A. Yes.
 20· ·Q. Do you know of any case where they've
 21· · · waited four months before going out with
 22· · · respect to a homicide investigation to
 23· · · interview witnesses?
 24· ·A. Not that I'm aware of, no.
 25· ·Q. Would you consider it unusual to wait

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 ·1· · · four months before you inter -- go out
 ·2· · · and find people to interview in a
 ·3· · · homicide case?
 ·4· ·A. I would, yes.
 ·5· ·Q. Unheard of?
 ·6· ·A. I've never heard of it.
 ·7· ·Q. Okay.· Do you know from Chief Kelly when
 ·8· · · and where the -- the file was first
 ·9· · · found?
 10· ·A. I -- I don't re -- no, I don't remember
 11· · · if I've asked him or I just don't recall
 12· · · where he said he found the file at.                  I
 13· · · know -- I do remember him saying that he
 14· · · had to spend some effort in trying to
 15· · · locate the file.
 16· ·Q. Okay.· And did he describe those
 17· · · efforts?
 18· · · · · · · · MS. CALLAHAN:· I'm going to
 19· · · have to object for the record based on
 20· · · hearsay of what Officer -- or Chief
 21· · · Kelly --
 22· · · · · · · · THE WITNESS:· Chief Kelly,
 23· · · yeah.
 24· · · · · · · · MS. CALLAHAN:· -- told him, is
 25· · · -- is hearsay, so I'm going to object

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 ·1· · · for the record.
 ·2· ·Q. You -- You can go ahead and answer --
 ·3· ·A. Yeah.
 ·4· ·Q. -- whether he described --
 ·5· ·A. He did not describe, yeah.
 ·6· ·Q. Okay.
 ·7· ·A. He just said that basically he
 ·8· · · remembered having to spend a
 ·9· · · considerable amount of time trying to
 10· · · locate the file because it was -- it was
 11· · · coming up for -- for whatever the
 12· · · proceeding was in 2018, 2019.
 13· ·Q. Was that file -- Did -- Did he indicate
 14· · · whether or not that file was in the file
 15· · · storage room?
 16· ·A. Now, I don't -- let me correct myself.
 17· · · I apologize.· I'm not sure if he knew --
 18· · · · · · · · MS. CALLAHAN:· I'm just going
 19· · · to go ahead for the record and just do a
 20· · · standing objection to this line --
 21· · · · · · · · MR. LAU:· Of course.
 22· · · · · · · · MS. CALLAHAN: -- of
 23· · · questioning.
 24· ·A. I don't -- I don't recall if it was the
 25· · · file specifically or just any and all

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 ·1· · · evidence related to the file
 ·2· · · specifically.· So it may be that he was
 ·3· · · able to locate the file and not the
 ·4· · · evidence or the evidence and not the
 ·5· · · file.· I'm not a hundred percent sure.
 ·6· ·Q. Okay.· So -- So at some point in time,
 ·7· · · former Chief Kelly indicated to you that
 ·8· · · he searched for records in this case,
 ·9· · · and you don't underst -- you don't know
 10· · · the full extent of what that --
 11· ·A. I don't.· I don't.
 12· ·Q. -- was?· Okay.
 13· · · · · · · · Are you aware, does the agency
 14· · · -- On behalf of the agency, are you
 15· · · aware of any files being lost at any
 16· · · period of time from the department?
 17· ·A. I'm not, no.
 18· ·Q. Now, there's been some renovations of
 19· · · the police department over time; is that
 20· · · correct?
 21· ·A. That's correct.
 22· ·Q. And do you know generally what was done
 23· · · to secure the files during the course of
 24· · · those renovations?
 25· ·A. I do not know.· Once -- Once again, that

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 ·1· · · was before I started.
 ·2· ·Q. Do you know when those renovations
 ·3· · · occurred?
 ·4· ·A. Not exactly, no.· I think it was '01 or
 ·5· · · '02.
 ·6· ·Q. Okay.· Have -- Have you had any
 ·7· · · conversations with other members of the
 ·8· · · Rockingham Police Department with
 ·9· · · regards to what took place during the
 10· · · first four months of -- of investigation
 11· · · in the Jeremy Rankin --
 12· ·A. I have not.
 13· ·Q. -- homicide case?
 14· · · · · · · · Do you know prior to 2006 the
 15· · · individuals who would have had -- had
 16· · · access to the case files in the
 17· · · Rockingham Police Department?
 18· ·A. Not with -- Not with any certainty, I
 19· · · don't, no.
 20· ·Q. Are there some individuals that you
 21· · · would expect had access to the files?
 22· ·A. I would expect that possibly the chief
 23· · · and/or assistant chief then would have
 24· · · had access to the files.
 25· ·Q. And who was the chief when you started?

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 ·1· ·A. Robert Voorhees.
 ·2· ·Q. And Chief Kelly seceded --
 ·3· ·A. That --
 ·4· ·Q. -- Mr. Voorhees?
 ·5· ·A. That's correct.
 ·6· ·Q. And prior to Mr. Voorhees, do you know
 ·7· · · who the chief of the agency was at that
 ·8· · · point in time?
 ·9· ·A. Chief Martin.
 10· ·Q. Okay.· Do you know Mr. Martin's first
 11· · · name?
 12· ·A. He -- He goes by E.R. Martin --
 13· ·Q. We --
 14· ·A. -- I don't know --
 15· ·Q. -- we can --
 16· ·A. Yeah, I apologize.
 17· ·Q. That's okay.· I appreciate that.· And --
 18· · · And -- And at what point in time, do you
 19· · · know, was Mr. Martin -- or Chief Martin
 20· · · the chief?
 21· ·A. I'm not -- I'm not sure when Voorhees
 22· · · became chief in Rockingham.
 23· ·Q. Okay.
 24· ·A. He was the chief obviously when I
 25· · · started, and Mr. Martin was the

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 ·1· · · magistrate at the time when I started at
 ·2· · · the police department.
 ·3· ·Q. Okay.· You said the assistant chief.· So
 ·4· · · for as long as you can remember, the two
 ·5· · · people with access to the files were the
 ·6· · · chief and the assistant chief; is that
 ·7· · · right?
 ·8· ·A. I'm going to assume the assistant chief
 ·9· · · had access to the files, just because my
 10· · · assistant chief has access to the files,
 11· · · but I -- I can't speak with any
 12· · · certainty on that.
 13· ·Q. So -- So there is a file custodian, but
 14· · · they don't have direct access --
 15· ·A. They don't.
 16· ·Q. -- to the file room?
 17· ·A. No.
 18· ·Q. Has that always been the case?
 19· ·A. I don't know.· I don't -- There's not
 20· · · really a need for them to have access to
 21· · · the file room now, but -- like I said
 22· · · before, because everything is in RMS.
 23· · · So they can answer most questions if
 24· · · someone were to call about a report or
 25· · · an incident via RMS because all the

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 ·1· · · notes that the investigators put in
 ·2· · · there are typed into RMS, as well.
 ·3· · · So --
 ·4· ·Q. Okay.· What -- What is the role of that
 ·5· · · custodian if things are more or less
 ·6· · · electronically stored --
 ·7· ·A. It --
 ·8· ·Q. -- within the department?
 ·9· ·A. Well, right now, she is responsible for
 10· · · helping purge some of these older
 11· · · records out to create space for -- for
 12· · · new records.
 13· · · · · · · · She enters property.· We still
 14· · · do property sheets.· We're working
 15· · · towards digitizing that, but right now,
 16· · · you fill out a property sheet, you hand
 17· · · it to her, and she enters that into RMS.
 18· · · She'll answer any questions that someone
 19· · · may have, generalized questions about a
 20· · · report or investigation.· She can look
 21· · · that up.
 22· · · · · · · · If it becomes a little more
 23· · · involved, then she transfers that over
 24· · · to the investigator who's handling that
 25· · · case.

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 ·1· · · · · · · · She also does NCIC entries for
 ·2· · · us and validations for us, as well.
 ·3· ·Q. Okay.· Has the RPD ever conducted an
 ·4· · · audit of its files --
 ·5· ·A. Not that I'm aware --
 ·6· ·Q. -- since you've --
 ·7· ·A. -- of.
 ·8· ·Q. -- been -- specifically what it has in
 ·9· · · its possession?
 10· ·A. Not that I'm aware of.
 11· ·Q. Okay.· Any effort to ensure that the
 12· · · contents of the 1995 file cabinet are
 13· · · indeed 1995 records and so forth for
 14· · · additional years?
 15· ·A. As far as the filing -- files, is that
 16· · · what you're --
 17· ·Q. Yes.
 18· ·A. -- the -- as far as -- yes.
 19· ·Q. So that effort has taken place to ensure
 20· · · that within the file storage space, the
 21· · · files are appropriately --
 22· ·A. Yes.
 23· ·Q. -- kept?
 24· ·A. Yes.
 25· ·Q. And are locations of those files

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 ·1· · · something that is documented beyond --
 ·2· · · anywhere beyond just the -- going to the
 ·3· · · cabinet?
 ·4· ·A. Just the filing cabinet?· That's pretty
 ·5· · · much the -- the extent of it right now,
 ·6· · · yes.
 ·7· ·Q. Okay.· What training is done for
 ·8· · · officers with respect to their
 ·9· · · file-keeping practices and ensuring that
 10· · · all materials end up in that master case
 11· · · file?
 12· ·A. So obviously they go through their basic
 13· · · law enforcement training, and then they
 14· · · go through an FTO program with us where
 15· · · we cover what's expected as far as being
 16· · · part of their felony file or if it's a
 17· · · misdemeanor case, what's expected to be
 18· · · in -- in their personal file, as well.
 19· ·Q. And -- And an understanding of their
 20· · · personal file, those contents have to at
 21· · · some point in time be conveyed or
 22· · · placed --
 23· ·A. Correct.
 24· ·Q. -- in the master file, as well?
 25· · · · · · · · I just want to define some of

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 ·1· · · these things with you.· The master case
 ·2· · · file is the full record of the
 ·3· · · investigation for the Rockingham Police
 ·4· · · Department; is that --
 ·5· ·A. Correct.
 ·6· ·Q. -- right?
 ·7· · · · · · · · When you spoke with former
 ·8· · · Chief Kelly, the master case file in the
 ·9· · · Rankin homicide is presently stored in
 10· · · the safe?
 11· ·A. That's correct.
 12· ·Q. And you understood it to be the master
 13· · · case file in the Rankin homicide?
 14· ·A. That's correct.
 15· ·Q. Okay.· And is there anybody other than
 16· · · you or the assistant chief with access
 17· · · to that safe?
 18· ·A. I don't have access to the safe.· Yeah.
 19· · · It's just not my property.· The
 20· · · custodian has access to the safe.
 21· ·Q. Okay.· And has that been the case over
 22· · · the years, that the property custodian
 23· · · -- So -- So I want to -- I want to flesh
 24· · · this out a little bit.
 25· ·A. Yeah.

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 ·1· ·Q. So what's the difference between the
 ·2· · · file custodian and the property
 ·3· · · custodian?
 ·4· ·A. So the -- the property custodian, he
 ·5· · · handles -- once you fill out this
 ·6· · · property sheet and our property custo --
 ·7· · · or our file custodian enters it into our
 ·8· · · RMS system, you have to sign over the
 ·9· · · property to our property custodian, then
 10· · · he places it in the appropriate storage
 11· · · facility.
 12· · · · · · · · Now, the safe -- the contents
 13· · · of the safe typically are just drugs,
 14· · · money, guns.· We did have one other case
 15· · · that was in the safe.· It was a
 16· · · homicide, as well, just -- and I can't
 17· · · recall why it was -- why it was placed
 18· · · in the safe, but for whatever reason,
 19· · · Chief Kelly put this into the safe, as
 20· · · well.
 21· ·Q. So is there a log of it going into the
 22· · · safe then?
 23· ·A. Yes, there should be.· Yeah.
 24· ·Q. So moving forward from the time it's
 25· · · placed into the safe, it's in your

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 ·1· · · property control system?
 ·2· ·A. Correct.
 ·3· ·Q. And the property control system would
 ·4· · · generate a chain of custody any time
 ·5· · · that file subsequently would be
 ·6· · · accessed?
 ·7· ·A. Yeah.· That's -- Well theoretically,
 ·8· · · yes.· If that's how Chief Kelly had it
 ·9· · · entered into the safe, then, yes, there
 10· · · should be -- in RMS, but the problem --
 11· · · the problem would be is that this OCA
 12· · · wouldn't have even have existed for RMS.
 13· · · So in order for us to get an OCA, we
 14· · · have to call the ECOM, the central
 15· · · communications --
 16· ·Q. Okay.
 17· ·A. -- and they generate a case number,
 18· · · which we call an OCA.· And we're able to
 19· · · use that to then generate property
 20· · · sheets and incident reports and things
 21· · · of that nature.
 22· · · · · · · · So to say that it's in the
 23· · · system now, I don't know with any
 24· · · certainty.· I can definitely look into
 25· · · that though.

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 ·1· ·Q. Okay.
 ·2· ·A. Yeah.
 ·3· ·Q. So for your --
 ·4· ·A. There -- There should be a record of
 ·5· · · when he -- whoever picked this stuff up
 ·6· · · from the clerk's office after the last
 ·7· · · hearing or proceeding, and when it went
 ·8· · · back to the Rockingham Police
 ·9· · · Department, there should be a record
 10· · · probably here of that.
 11· ·Q. Okay.
 12· · · · · · · · MR. LAU:· That would be all my
 13· · · questions.
 14· · · · · · · · · · CROSS-EXAMINATION
 15· · · BY MR. DUNN:
 16· ·Q. Good afternoon.· I wanted to talk about
 17· · · just a couple of points here.· Hopefully
 18· · · it won't take too much of our time.
 19· ·A. Okay.
 20· ·Q. So speaking generally of the time frame
 21· · · from 1995, just call it, to 1998, you
 22· · · weren't in law enforcement of any type
 23· · · at that time, were you?
 24· ·A. I still was in high school.
 25· ·Q. You were in high school, okay.· So

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 ·1· · · exactly what went on in those years,
 ·2· · · investigative activity, policies and
 ·3· · · 1procedures, you don't have direct
 ·4· · · knowledge of those --
 ·5· ·A. I do not.
 ·6· ·Q. -- from -- from dating back to that
 ·7· · · time?
 ·8· ·A. No.
 ·9· ·Q. You'd have -- You'd have to speculate?
 10· ·A. Correct.
 11· ·Q. Okay.· So you testified a little bit
 12· · · earlier about -- you were asked like
 13· · · what -- what you would expect to see in
 14· · · a master case file, and one of the
 15· · · things -- some of the things that you
 16· · · mentioned were witness statements and
 17· · · anything that happened from the time the
 18· · · case was opened until -- I mean, just
 19· · · ongoing, I suppose --
 20· ·A. Right.
 21· ·Q. -- is that -- is that right?
 22· ·A. Yes.
 23· ·Q. Speaking of the McRae case or the Rankin
 24· · · case specifically, do you know if there
 25· · · was any witness statements collected

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 ·1· · · between October 14th, 1995, and March
 ·2· · · 1st, 1996?
 ·3· ·A. I do not.
 ·4· ·Q. Do you know if any neighborhood
 ·5· · · canvassing was done between October
 ·6· · · 14th, 1995, and March 1st, 1996?
 ·7· ·A. I do not.
 ·8· ·Q. So you don't know -- correct me if I'm
 ·9· · · wrong, do you know of something that
 10· · · should be in this specific McRae/Rankin
 11· · · file that is not in that file right now?
 12· ·A. I have -- I would -- I would have no
 13· · · idea.
 14· ·Q. Just --
 15· ·A. Yeah.
 16· ·Q. -- no idea?
 17· · · · · · · · You testified a little bit
 18· · · about an offsite storage area that was
 19· · · used, and it may or may not be used at
 20· · · this time.
 21· ·A. Correct.
 22· ·Q. Do you know if the -- I think you
 23· · · referred to them as the felony case
 24· · · files, the -- the murders, rapes, those
 25· · · sorts of things, were they ever stored

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 ·1· · · offsite?· Do -- Do you have any idea?
 ·2· ·A. I -- I don't know.
 ·3· ·Q. Okay.· Especially going back to '95 --
 ·4· ·A. No.
 ·5· ·Q. -- ninety --
 ·6· · · · · · · · Do you know if the storage
 ·7· · · area -- the offsite storage was used
 ·8· · · during '95, '98, any -- any of that time
 ·9· · · period?
 10· ·A. I don't think there are -- any files
 11· · · were stored in that area.· I think that
 12· · · older evidence was stored in that area.
 13· ·Q. All right.
 14· ·A. All the files were still in a filing
 15· · · cabinet --
 16· ·Q. Okay.
 17· ·A. -- is my understanding.
 18· ·Q. And then again -- you state now, current
 19· · · procedure is -- for a certification of
 20· · · discovery to go back into your file
 21· · · after you've turned it over to the
 22· · · district attorney's office; is that
 23· · · correct?
 24· ·A. That's correct.
 25· ·Q. Are you -- Do you know if that was the

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 ·1· · · procedure back when this case was handed
 ·2· · · over to the DA's office?
 ·3· ·A. I don't believe it was.· I can't say for
 ·4· · · sure.· But I remember when the discovery
 ·5· · · certification sheet became a thing in
 ·6· · · Richmond County, so I assume that it
 ·7· · · probably wasn't a thing before --
 ·8· ·Q. Right.
 ·9· ·A. -- you know, '09 or 2010.
 10· ·Q. Gotcha.
 11· · · · · · · · · · CROSS-EXAMINATION
 12· · · BY MS. CALLAHAN:
 13· ·Q. If the police department was being
 14· · · renovated, would they have kept their
 15· · · master files where they usually do, or
 16· · · do you have any direct knowledge of what
 17· · · they did with those files during that
 18· · · renovation?
 19· ·A. I don't know what the building looked
 20· · · like before, you know, what it looks
 21· · · like now.· So I don't know where the
 22· · · files were kept before versus where
 23· · · they're kept now.· I don't know if those
 24· · · renovations would have made them alter
 25· · · or move those files to complete those

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 ·1· · · renovations.
 ·2· ·Q. Okay.· And you've done your very best
 ·3· · · efforts to comply with the subpoena to
 ·4· · · look for documents in this particular
 ·5· · · '95, '96 period of time?
 ·6· ·A. Yes, ma'am.· That's correct.
 ·7· ·Q. And you did not find any?
 ·8· ·A. No.
 ·9· · · · · · · · MS. CALLAHAN:· Thank you.                  I
 10· · · don't have anything further.
 11· · · · · · · · MR. DUNN:· No further.
 12· · · · · · · · · REDIRECT EXAMINATION
 13· · · BY MR. LAU:
 14· ·Q. Just -- Just a couple additional
 15· · · questions.· Speaking to the questions
 16· · · from respondent with respect to your
 17· · · knowledge of what transpired during the
 18· · · period of time between October 14th,
 19· · · 15th, 1995, through March 1st, 1996, are
 20· · · -- are you aware that Detective
 21· · · Voorhees, former Chief Voorhees,
 22· · · testified that suspects from outside of
 23· · · the City of Rockingham were investigated
 24· · · in the case?
 25· ·A. No, I was not aware of that.

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 ·1· ·Q. Would you expect to find the records of
 ·2· · · those suspects who were investigated in
 ·3· · · a master case file?
 ·4· ·A. Yes, I would expect to see those.
 ·5· ·Q. And were you aware they testified that
 ·6· · · they looked into Mr. Rankin himself
 ·7· · · during that investigation?
 ·8· ·A. I was not aware of that.
 ·9· ·Q. Would you expect to find out the
 10· · · information that they learned through
 11· · · the course of their investigation into
 12· · · Mr. Rankin in the master case file?
 13· ·A. I would.
 14· ·Q. Now, with respect to the files offsite,
 15· · · you testified that your understanding is
 16· · · that files were not stored there, but
 17· · · you do not have personal knowledge of --
 18· ·A. I --
 19· ·Q. -- what sorts of --
 20· ·A. Yeah, I don't.
 21· ·Q. And -- And you -- you -- you don't know
 22· · · specifically whether -- or if files or
 23· · · any Rockingham Police Department
 24· · · property still resides in that --
 25· ·A. Not with --

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 ·1· ·Q. -- storage --
 ·2· ·A. -- not with any certainty, no.
 ·3· ·Q. Okay.· You said you did not believe that
 ·4· · · the discovery certification existed back
 ·5· · · during this period of time, between 1995
 ·6· · · and 1998?
 ·7· ·A. I don't think so, no.
 ·8· ·Q. Do you have any indication of what it
 ·9· · · was -- you know, have you -- have you
 10· · · familiarized yourself, spoken with
 11· · · former Chief Kelly or anybody about what
 12· · · the agency's obligation to turn over to
 13· · · the DA's office at that period of time
 14· · · was?
 15· ·A. I -- I did not ask him specifically what
 16· · · the obligation would have been in that
 17· · · timeline, and, honestly, he -- he may
 18· · · not know, because I think he was a
 19· · · patrol officer, but I would assume it
 20· · · was substantially the same.· I mean,
 21· · · whatever is in your case file should
 22· · · be turned over to -- to the DA's
 23· · · office.
 24· · · · · · · · MR. LAU:· I have nothing
 25· · · further.

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 ·1· · · · · · · · · ·RECROSS-EXAMINATION
 ·2· · · BY MS. CALLAHAN:
 ·3· ·Q. Do you have any direct knowledge of
 ·4· · · whether police officers kept their
 ·5· · · investigative notes in their master file
 ·6· · · at that time?
 ·7· ·A. I don't.
 ·8· · · · · · · · MR. DUNN:· Thank you.
 ·9· · · · · · · · THE WITNESS:· All right.
 10· · · · · · · · THE VIDEOGRAPHER:· This
 11· · · concludes the deposition of corporate
 12· · · designee George Gillenwater, media
 13· · · number one.· The time is 2:34 p.m.· We
 14· · · are off the record.
 15· · · · ·(THE DEPOSITION CONCLUDED AT 2:34 P.M.)
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 ·1· · · · · · · · · ·ERRATA SHEET
 ·2· · Case Name:· · Derrick Jovan McRae
 ·3· · · · · · · · · vs.
 ·4· · · · · · · · · Erik Hooks
 ·5· · Case Number:· 1:21CV577
 ·6· · Deponent:· · ·George Gillenwater
 ·7· · Date:· · · · ·September 26, 2022
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 ·1· · · · · · · · · · ·SIGNATURE

 ·2

 ·3·       ·I, George Gillenwater, do hereby state
 · ·       ·under oath that I have read the above
 ·4·       ·and foregoing deposition in its entirety
 · ·       ·and that the same is a full, true, and
 ·5·       ·correct transcript of my testimony.

 ·6
 · · ·Signature is subject to corrections on
 ·7· ·attached errata sheet, if any.

 ·8

 ·9· ·___________________________
 · · ·George Gillenwater
 10

 11· ·State of ____________

 12
 · · ·County of ___________
 13

 14
 · · ·Sworn to and subscribed before me this
 15· ·__________ day of _______________, 20__.

 16
 · · ·_______________________
 17
 · · ·Notary Public
 18
 · · ·My commission expires: _________________
 19

 20

 21

 22

 23

 24

 25


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 ·1· · · · · · · · · · CERTIFICATE

 ·2
 · · ·State of North Carolina
 ·3· ·County of Wake

 ·4
 · ·       ·I, Kylie Fleming, a notary public in and
 ·5·       ·for the State of North Carolina, do
 · ·       ·hereby certify that there came before me
 ·6·       ·on the 26th day of September, 2022, the
 · ·       ·person hereinbefore named, who was by me
 ·7·       ·duly sworn to testify to the truth and
 · ·       ·nothing but the truth of his knowledge
 ·8·       ·concerning the matters in controversy in
 · ·       ·this cause; that the witness was
 ·9·       ·thereupon examined under oath, the
 · ·       ·examination reduced to typewriting.
 10

 11·       ·I further certify that I am not counsel
 · ·       ·for, nor in the employment of any of the
 12·       ·parties to this action; that I am not
 · ·       ·related by blood or marriage to any of
 13·       ·the parties, nor am I interested, either
 · ·       ·directly or indirectly, in the results
 14·       ·of this action.

 15
 · · ·In witness whereon, I have hereto set my
 16· ·hand, this the 30th day of September,
 · · ·2022.
 17

 18

 19· ·Kylie Fleming
 · · ·Notary Public
 20

 21

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